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                                    City council member RUNS     City council member GETS IN        REFUSING SERVICE TO THE   UNLAWFUL DIRECTIVES                 D
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                                    COP SENT PACKING!!! DON'T        CITY COUNCIL MOB!!!                INSECURITY GUARD THINKS    ANTI FREEDOM INSECURITY
                                                                                                                                                      Sign in       M
                                    MESS WITH BIG SIS!!!             9.4K views                         THE LIBRARY IS PRIVATE…    GUARD DISMISSED!!!               D
                                    143K views                                                          5.8K views                 6.9K views                       1
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                                    Giving cops the same             COP STICKS HIS NOSE                COP CHOKES OUT WOMEN!!!    SPEED TRAP LADY SENT             A
          Trending                  directives they give us... ON…   WHERE IT DOESN'T BELON…            9.6K views                 PACKING!!!                       t
                                    7K views                         19K views                                                     4.6K views                       1
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                                    Women says BLM can loot          "You have to leave!"               MASS ARREST!!!             DMA CREW ARRESTED!!!             R
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                                                                     82K views                          7.4K views                 5.1K views
                                    7.7K views                                                                                                                      1

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                                    OATH VIOLATERS                   OATH BREAKING TYRANTS              SNOWFLAKES GALORE at the   LAWLESS CITY COUNCIL             L
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                                    EXPOSED!!!                       CALLED OUT!!!                      DMV!!!                     CALLED OUT!!!                    C
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                                    'THIS IS FEDERAL                 AFA wins battle of wits            COP DEFENDS LAWLESS       COPS DISMISSED!!!                   L
                                    PROPERTY"                        again!!! LOL                       CITY ATTORNEY AND GETS…   1.5M views                          A
   Explore                          66K views                        11K views                          82K views                                                     2

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                                    MAD CHAD!!! If "you're fired!"   LADY GOES HANDS ON IN              BIG SIS TEARS COP A NEW   CROOKED COP CALLED OUT              C
          Podcasts
                                    was a person...                  POST OFFICE!!!                     ONE!!!                    FOR TARGETING THE…                  I
                                    25K views                        50K views                          22K views                 20K views                           6

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                                    LADY GOES HANDS ON OVER          LADY SENDS COP                     BIS SISTER GOES TO JAIL   SUPER HERO SECURITY                 J
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                                    A CAMERA!!!                      PACKING!!!                         FOR STANDING UP FOR…      GETS ONE INCH FROM ME!!!            F
                                    68K views                        1.8M views                         11K views                 26K views                           2
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                                    COP DOXES ME SEVERAL        MY NAME'S RIGHT HERE!!!         RECKLESS DRIVING TRAFFIC       RUDE EMPLOYEES GALORE!!!
                                                                                                                                                      Sign in    E
                                    TIMES!!!                    42K views                       ENFORCEMENT COP!!!             At Colorado Springs PD            B
                                    17K views                                                   13K views                      263K views                        1
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                                    PUT IN HANDCUFFS!!! for     PUT IN HANDCUFFS!!! For         KARENS SHUTDOWN!!!             YOU MUST SHOW ID TO               Y
                                    being a FREE AMERICAN!!!    being a FREE AMERICAN!!!        15K views                      OBTAIN PUBLIC RECORDS!!!          O
          Fashion & Beauty
                                    16K views                   9.4K views                                                     15K views                         1
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                                    "THAT'S HOW YOU KNOW WE     DRUNK KIDS TRY TO FIGHT             COP SENDS SENIOR CITIZEN   FIRE DEPARTMENT GOES              C
                                    AINT INCARCERATED, DUM…     US WHILE COPS WATCH A…              TO THE HOSPITAL!!!         ROGUE!!!                          H
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                                    14K views                   13K views                           18K views                  25K views                         1
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                                    DEPUTY REFUSES TO                 OVERZEALOUS ALLIED                 COPSPLAINING            PUBLIC PROPERTY IS Sign in       P
                                    HONOR HIS OATH!!!                 SECURITY CLOWN!!!                  SHUTDOWN!!!             PRIVATE!!!                       P
                                    26K views                         162K views                         1.9M views              24K views                        4
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                                    OF THEIR OWN SHADOW!!!…           ON RECORDING IN THE…               DISMISSED!!!            10K views                        is

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                                UNLAWFUL DIRECTIVES AND   BELMAR LIBRARY AT IT           OFFICER CHAOTE CALLED       0 to 100 REAL QUICK!!! Lady
                                                                                                                                            Sign in    J
                                OATH BREAKERS!!!          AGAIN!!! Went back to their…   OUT!!!                      GRABS MY ARM and FREAK…           U
                                32K views                 19K views                      147K views                  411K views                        2
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                                at the DMV!!!             GRABS HER GUN for no…          trap protest! Full video…   https://youtu.be/SHDF23ks1c       T
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                                43K views                 77K views                      23K views                   1.6M views                        1
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